                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

                                                           )
DAVID LITTLEFIELD, MICHELLE LITTLEFIELD,                   )
TRACY ACORD, DEBORAH CANARY, FRANCIS                       )
CANARY, JR., VERONICA CASEY, PATRICIA                      )
COLBERT, VIVIAN COURCY, WILL COURCY,                       )
DONNA DeFARIA, ANTONIO DeFARIA, KIM                        )
DORSEY, KELLY DORSEY, FRANCIS LAGACE,                      )
JILL LAGACE, DAVID LEWRY, KATHLEEN LEWRY,                  )
MICHELE LEWRY, RICHARD LEWRY, ROBERT                       )
LINCOLN, CHRISTINA McMAHON, CAROL                          )   Civil Action No.
MURPHY, DOROTHY PEIRCE, DAVID PURDY                        )   1:16-CV-10184-ADB
and LOUISE SILVA,                                          )
                  Plaintiffs,                              )
            v.                                             )
                                                           )
UNITED STATES DEPARTMENT OF THE INTERIOR,                  )
1849 C Street, N.W., Washington DC 20240, SALLY            )
JEWELL, in her official capacity as Secretary, U.S.        )
Department of the Interior, 1849 C Street, N.W.,           )
Washington, DC 20240, BUREAU OF INDIAN                     )
AFFAIRS, U.S. Department of the Interior, 1849 C Street,   )
N.W., Washington, DC 20240, LAWRENCE ROBERTS,              )
in his official capacity as Acting Assistant Secretary -   )
Indian Affairs, U.S. Department of the Interior, 1849 C    )
Street, N.W., Washington, DC 20240, UNITED STATES          )
OF AMERICA.                                                )
                        Defendants.                        )
                                                           )

                MEMORANDUM OF LAW IN SUPPORT OF
    THE MASHPEE WAMPANOAG INDIAN TRIBE’S MOTION TO INTERVENE
                                                  i. Introduction

         The Mashpee Wampanoag Indian Tribe (“the Tribe” or “the Mashpee”) respectfully

submits this Memorandum in support of its Motion to Intervene. The Tribe seeks to intervene

under Fed. R. Civ. P. 24 as of right or, in the alternative, on a permissive basis to: 1) participate

in any motion practice remaining in the District Court; and 2) appeal the Court’s July 28, 2016

Memorandum and Order (“the Order”), all of which will profoundly affect the Tribe’s rights.

Memorandum & Order, Jul. 28, 2016 (Dkt. No. 87), at 22.1 The Tribe’s motion is supported by

the Affidavit of Cedric Cromwell, Chairman of the Tribe and President of the Mashpee

Wampanoag Gaming Authority. See Affidavit of Cedric Cromwell (“Cromwell Aff.”). The

Tribe’s motion is further supported by the Tribe’s undeniable interest in the subject of this

action, namely the validity of a decision by the Department of the Interior (“Department”) to

place land into trust for the Tribe, or Record of Decision (“ROD”). In light of the Order and at

this stage in the litigation, it is imperative that the Tribe be heard in the defense of the ROD, a

true and correct copy of which is attached hereto as Exhibit B.

         At the time of white contact over four hundred years ago, the Tribe’s ancestors were

organized into a coalition of loosely confederated sachemdoms in possession of southeastern

Massachusetts. ROD, at 62. These lands included modern-day Bristol, Barnstable, and Plymouth

Counties, Massachusetts, at a minimum. Id. at 63. In 1665, twenty-five square miles of this

aboriginal territory were set aside as a praying town. The following year, this grant was

confirmed by Mashpee sachems and in 1685 the grant was officially recognized by the General

Court of Plymouth Colony as land held in perpetuity by the Tribe. Proposed Finding on the

Mashpee Wampanoag Indian Tribal Council, Inc., U.S. Department of the Interior, Office of


1
         Pursuant to Rule 24(c), a Proposed Answer stating the Tribe’s interests, claims, and defenses is attached as
Exhibit A.

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Federal Acknowledgement (“Mashpee Finding”),2 at AR000986–87.3 This set-aside was the

Mashpee reservation and the United States denominated it as such at various times. ROD, at

113–14. From that time on, the Tribe suffered steady diminishment of its land until, by the

1960’s, even though the Tribe maintained nearly exclusive occupation of the Town of Mashpee

it had fee title to only a few culturally significant parcels (assuming, without admitting, that the

Commonwealth’s attempt to extinguish aboriginal title to the Town was effective). Id. at 36–49.

         This tragic and decimating pattern of continual land loss was finally reversed on

September 18, 2015, with the Department’s issuance of the ROD. On February 4, 2016,

Plaintiffs sued to set aside the ROD, ignoring the ROD’s historic significance as a critical step

towards remedying the loss of the Tribe's lands and focusing instead solely on the Tribe’s casino

project. Complaint (Dkt. No. 1).4 At that time, the Tribe made a judgment that the better course

to protect its newly established sovereign territory was to rely on its immunity from suit and not

intervene, as the Department of Justice (“DOJ”) was defending the determination to take land

into trust for the Tribe. Tribal sovereign immunity is a core aspect of sovereignty that tribes

possess and wield to protect tribal people and resources. Michigan v. Bay Mills Indian

Community, 572 U.S. __, 134 S. Ct. 2014, 2030 (2014).

         Given the Court’s Order, it is now essential that the Tribe intervene to defend the ROD in

post-judgment motion practice and on appeal to vindicate the Tribe’s history and to protect the

vital importance of all its sovereign territory as only the Tribe can do. Fed. R. Civ. P. 24(a). The

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         In determining that the Tribe was entitled to acknowledgment as a federally recognized Indian tribe, the
Department adopted and relied upon the Mashpee Finding in its entirety, and did not make any substantive changes.
72 Fed. Reg. 8,007 (Feb. 22, 2007); 73 Fed. Reg. 18,553 (Apr. 4, 2008).
3
         Citations and reference to AR refer to the Administrative Record relating to the Department’s decision to
take land into trust for the Tribe, which the Tribe understands the parties have previously provided to the Court.
4
         Plaintiffs allege they are residents of Taunton and focused only on the casino project in their complaint but
acknowledged that their action would affect parcels located in the Town of Mashpee, as well. Complaint (Dkt.
No.1), at 2 n. 1.

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land that the Secretary took into trust for the Tribe is the Tribe’s initial reservation, it provides an

opportunity to exercise its rights as a sovereign nation, and it represents the promise of lifting the

Tribe’s members out of poverty and providing myriad other benefits—educational, cultural, and

otherwise—through the development of a gaming establishment. See generally ROD. If the

Order stands, the Tribe risks losing its interests in all of the real estate in Mashpee and Taunton

at issue in this litigation, and will be deprived of an even more valuable interest: the opportunity

to more fully realize its identity as a sovereign nation and to improve the collective condition of

its members following centuries of mistreatment. Upon the entry of the Order, it became

apparent that the United States may not adequately represent the interest of the Tribe, such that

the Tribe recognized the need to intervene. The parties will not be prejudiced in any respect by

the Tribe’s intervention, as it does not seek to add to the factual record, engage in discovery, or

otherwise delay the litigation.

         For those reasons, set forth in greater detail below, the Tribe requests that the Court grant

the Tribe’s motion to intervene as of right or, in the alternative, on a permissive basis.

                                                 ii. Background

I.       Federal Recognition and Trust Application.

         After a detailed and lengthy review of the Tribe’s history and analysis of the tribal

community, the Department determined in 2007 that the Tribe has continuously existed as a self-

governing Indian people and was entitled to acknowledgment as a federally recognized Indian

tribe. 72 Fed. Reg. 8007 (Feb. 22, 2007); 73 Fed. Reg. 18553, 18553-54 (Apr. 4, 2008). This

determination is entitled to deference by courts. ROD, at 59.5 Because of its status as federally

recognized, the Tribe was entitled to seek trust land through an administrative process at the

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         Plaintiffs allege that the acknowledgment process and resulting recognition of the Tribe was erroneous.
However, direct challenge to the 2007 decision is time-barred by the APA six year statute of limitations. Trafalgar
Capital Association, Inc. Cuomo, 159 F.3d 21, 34 (1st Cir. 1998).

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Department and the Tribe did so in 2007. See 25 C.F.R. Part 151; ROD, at 5. The Tribe revised

and supplemented its trust application over time, as the Department conducted extensive

environmental, historical, and legal review of the application.

       The Tribe proposed that the United States place into trust eleven (11) parcels located in

the Town of Mashpee (“Town”), totaling 170 acres. These include land of historical and cultural

importance to the Tribe, such as the Old Indian Meetinghouse and Tribal Cemetery, the Tribe’s

Government Center, and land designated for development as tribal housing. ROD, at 6. The

Tribe also proposed that the United States place into trust seventeen (17) parcels, totaling

approximately 151 acres, located in the City of Taunton (“City”) to be developed as a tribal

casino. Id. at 7. The City had identified those parcels for economic development purposes and

zoned them as commercial. Id. at 128. Projections showed that the casino project will generate

jobs and revenue for both the Tribe and the City. Id. at 135.

       The Tribe’s application explained the importance of having the Property taken into trust.

The Tribe “lacks a federally protected land base, trust lands, or reservation lands,” which are

“critical to allowing the Tribe to gain control over its activities and to achieve self-

determination.” June 5, 2012 Application, at AR007199. As to the Taunton Parcels, the gaming

establishment to be built on those parcels will be used to address the many economic needs of

the Tribe, including, among other important issues, the Tribal government’s approximately $26

million budget shortfall, an unemployment rate of nearly 50%, and the lack of adequate housing

for the Tribe’s many low-income members. Id. at AR007199–201. In particular, the Tribe’s

members had substantial housing needs: tribal members were priced out of the market in the

Town, with the average tribal household having 2.73 persons more than the average household in

the Town. ROD, at 121. Fundamentally, the Taunton Parcels will allow the Tribe to be



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economically independent and self-sufficient. The Mashpee Parcels will be used to house the

Tribe’s government center and also provide the real estate necessary to develop housing for the

needs of the Tribe’s members. June 5, 2012 Application, at AR007199–201.

        During the Department’s deliberations on the Tribe’s application, the Tribe took steps to

establish government-to-government relations with the Town, the City, and the Commonwealth

of Massachusetts. The Tribe executed an Intergovernmental Agreement with the Town, in which

the Town agreed to support the Tribe’s trust application. ROD, at 128. Similarly, the Tribe

executed an Intergovernmental Agreement with the City, in which the Tribe agreed to make

payments in lieu of taxes to the City and the City agreed to support the Tribe’s trust application,

upon approval of the proposed project by residents of the City at a special referendum. Id. at

129.6 On March 19, 2013, the Tribe executed a Compact with the Commonwealth,7 which

established the terms of cooperation between those governments on regulation of and jurisdiction

over the proposed gaming on the Taunton parcels. 79 Fed. Reg. 6213 (Feb. 3, 2014). These

actions were taken in anticipation of the ROD and to provide terms of cooperation among

affected governments for continued health and safety on the proposed trust land.

II.     The Record of Decision.

        On September 18, 2015, the Secretary issued the ROD, concluding that the Department

intended to accept into trust the eleven (11) parcels located in the Town and the seventeen (17)

parcels in the City for the Tribe’s benefit. 80 Fed. Reg. 57,848 (Sept. 25, 2015). The purpose of

the acquisition was “to provide the Tribe with opportunities for long term, stable economic



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         The City of Taunton’s referendum to approve the Tribe proposed construction and operation of a gaming
establishment was held on June 9, 2012, and 63% of the voters approved the proposal. Final Environmental Impact
Statement, at AR030489-030490.
7
        The Governor was authorized to execute a compact with the Tribe in the Massachusetts Expanded Gaming
Act, M.G.L. c. 23K.

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development and self-government. These opportunities will enable the Tribe to meet the needs of

its members by providing land for self-determination and self-governance, cultural preservation,

housing, education and otherwise providing for its members.” ROD, at 7–8. The decision

fundamentally altered the future of the Tribe, as “[m]any tribal members are unemployed and

have incomes below the poverty level. Long term, stable economic development would provide

employment opportunities for tribal members.” Id. Gaming revenue will further “greatly enhance

the Tribe’s ability to preserve its history and community” including maintaining “historic family

burial grounds” and programs and services for children. Id. at 8. The ROD includes a detailed

examination of environmental issues, a thorough review of tribal history, and analyses of

governing statutes and regulations.

       The Department reached several conclusions in the ROD. First, after a two year long

environmental review, there were no environmental impacts resulting from acquisition of the

Town parcels, there being no change in use, and the proposed casino development on the City

parcels was the preferred development alternative. Id. at 12. Second, the Tribe was eligible for

trust acquisition under the Indian Reorganization Act, based upon an extensive analysis of the

statute and review of tribal history. Id. at 77–120. Third, the trust parcels collectively qualified as

the Tribe’s initial reservation, in accordance with 25 C.F.R. Part 292. Id. at 53–77. Fourth, once

the trust deeds were executed, the Department would issue a reservation proclamation as to those

lands. Id. at 136-137.

       On November 10, 2015, the Tribe and the Department executed trust deeds for the

parcels. Amended Complaint (Dkt. No. 12), ¶82. On December 30, 2015, the Department

proclaimed the Tribe’s trust land as its reservation. 81 Fed. Reg. 948 (Jan. 8, 2016). By these

acts, the Tribe’s reservation became Indian country within the meaning of governing principles



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of civil and criminal jurisdiction. See generally, Cohen’s Handbook of Federal Indian Law, §

3.04[1]. As a result, the Tribe quickly negotiated agreements with the Town and City to insure a

smooth transition to tribal authority over its reservation and members. Cromwell Affidavit, ¶¶

10–11.

         Since the ROD and the acceptance of the parcels into trust, the Tribe has vigorously

pursued federal grants and programs that are available to tribal trust lands. These include

additional funding from Indian Health Service and Housing and Urban Development for the

planning and construction of Indian housing for its members and pending application for funding

from Environmental Protection Agency to develop a reservation water quality program. Id. ¶ 12.

The Tribe broke ground on the casino project at Taunton on April 5, 2016. Id. ¶ 13.

         In the wake of the Order, the Tribe instructed its Construction Manager at the Taunton

gaming establishment site to stand down on active construction and limit on-site activities to

those necessary to complete work in progress related to utility services and secure the site for

purposes of safety and preservation of tribal materiel stored there. Id. ¶ 14. The site was secure

and on-site construction suspended on August 11, 2016. Id.

                                              iii. Argument

         The Tribe is entitled to intervene as of right or, in the alternative, on a permissive basis to

participate in any post-Order motion practice and appeal. The trust status of the Tribe’s Property is

the central subject matter of this litigation. As the Court put it in the Order, “[t]his case arises out of

a decision of the Secretary of the Department of the Interior (the “Secretary”) to acquire land in

trust for the benefit of the Mashpee Wampanoag Tribe (the “Mashpee”) under Section 465 of the

Indian Reorganization Act (“IRA”), 25 U.S.C. § 465.” Order (Dkt. No. 87), at 1. While the other

parties will not be prejudiced in any respect by the Tribe’s intervention, the denial of this motion



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would deprive the Tribe of bringing its own critical voice to bear on this Court’s and any appellate

court’s consideration of the pending opportunity to radically improve the life of every one of the

Tribe’s members.

I.       The Tribe Is Entitled to Intervene as a Matter of Right.

         Rule 24(a)(2) provides that on a timely motion, “the court must permit anyone to

intervene who . . . claims an interest relating to the property or transaction that is the subject of

the action, and is so situated that disposing of the action may as a practical matter impair or

impede the movant’s ability to protect its interest, unless existing parties adequately represent

that interest.” Fed. R. Civ. P. 24(a)(2). There are four requirements to entitle a party to intervene

as of right: (i) the timeliness of its motion to intervene; (ii) the existence of an interest relating to

the property or transaction that forms the basis of the pending action; (iii) a realistic threat that

the disposition of the action will impede its ability to protect that interest; and (iv) the lack of

adequate representation of its position by any existing party. See Negrón–Almeda v. Santiago,

528 F.3d 15, 22 (1st Cir. 2008); B. Fernández & Hnos., Inc. v. Kellogg USA, Inc., 440 F.3d 541,

544–45 (1st Cir. 2006); see also Fed. R. Civ. P. 24(a). In applying this test, a court should be

guided primarily by “a commonsense view of the overall litigation.” Pub. Serv. Co. of New

Hampshire v. Patch, 136 F.3d 197, 204 (1st Cir. 1998). Indeed, “[b]ecause small differences in

fact patterns can significantly affect the outcome, the very nature of a Rule 24(a)(2) inquiry

limits the utility of comparisons between and among published opinions.” Id. Moreover, it is

well-established that “Rule 24(a) is construed broadly, in favor of the applicants for

intervention.” Scotts Valley Band of Pomo Indians v. United States, 921 F.2d 924, 926 (9th Cir.

1990).

         As described below, the Tribe satisfies each of the requirements of Rule 24:



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        A.      The Tribe Has an Interest in this Action that May Be Impaired.

        It is difficult to conceive of an interest that would more powerfully militate in favor of a

motion for intervention than the Tribe’s here. As described above, see supra Part ii, the Property

represents the Tribe’s first tribal lands, which allow it to exercise its rights as a sovereign nation

and govern its reservation. It further affords the Tribe the opportunity to develop a thriving

business in the form of a gaming establishment that will benefit the Tribe in myriad respects

described above. If the Court’s Order stands, the Tribe may lose all of those substantial interests.

        For an applicant to justify intervention as of right, its interests must be “significantly

protectable.” Conservation Law Foundation of New England, Inc. v. Mosbacher, 966 F. 2d. 39,

41 (1st Cir. 1992). While “there is no precise and authoritative definition of the interest required

to sustain a right to intervene” the would-be intervenor’s claims must bear a “sufficiently close

relationship to the dispute between the original litigants” and “[t]he interest must be direct, not

contingent.” Id. at 42. “[T]he determination of whether an interest is sufficient for Rule 24(a)(2)

purposes is colored to some extent by the third factor – whether disposition of the action may, as

a practical matter, impair or impede the applicant’s ability to protect its interest.” Id. This is a

very “practical test” of adverse effect. Daggett v. Comm’n on Governmental Ethics & Election

Practices, 172 F.3d 104, 110-11 (1st Cir. 1999) (holding that the possibility that the litigation

could end with an injunction adversely affecting the putative intervenors’ interests was sufficient

to meet this requirement).

        The Tribe’s interest in this action is self-evident. As the Court has acknowledged, the

Department’s decision to take the Tribe’s land into trust is at the heart of the case. Order, at 22.

The Tribe has a “significantly protectable interest” in this litigation because it has a property

interest in the “property . . . that is the subject of the action.” Fed. R. Civ. P. 24(a)(2). The Tribe



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is the beneficial owner of land placed into trust by the United States, and the land is the Tribe’s

federally-protected reservation, over which the Tribe exercises significant governmental

authority and jurisdiction. Amended Complaint, ¶ 82. These property interests are more than

sufficient to satisfy Rule 24. Indeed, under federal law, the Tribe’s sovereign interest and powers

of self-government are largely tied to its trust land. See Washington v. Confederated Tribes of

Colville Indian Reservation, 447 U.S. 134, 152-154 (1980).

       Further, the Tribe has an obvious and direct economic interest in the outcome of this

litigation. It has vital economic interests that will be directly affected by the outcome of this

lawsuit. The Tribe has a $26 million budget deficit and impoverished members for whom it seeks

to provide housing and various services. Mashpee Finding, at AR007199–201. The Tribe’s

existing funding sources are simply inadequate to meet the needs of the Tribal government and

its members. Id. As described above and in the ROD, the Tribe plans to engage in economic

development by developing a gaming facility. The Tribe has no other trust or reservation lands

that can be used for economic development. The proposed economic development project will

generate revenue to address the significant unmet needs of the Tribe and its members.

       If Plaintiffs prevail, and absent other developments, the Tribe may lose its federally-

protected land base and be unable to build and operate the gaming facilities necessary to fund its

Tribal government and much-needed programs for its members. See, supra, Part ii. If that occurs,

it will be prevented from achieving the economic self-sufficiency and governmental self-

determination that the ROD would bring to fruition. This would be a crippling blow for the Tribe

and its members. Particularly in combination with the Tribe’s legal, proprietary and sovereign

interests, these direct and important economic interests justify intervention.

       The Tribe’s position here stands in sharp contrast to that of the Gay Head Tribe of



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Aquinnah (“Aquinnah”) when it moved to intervene in KG Urban Enterprises, LLC v. Patrick, et

al. (“KG Urban”), 293 F.R.D. 42, 48 (D. Mass. 2013) (Gorton, J), an action concerning the

constitutionality of a provision of the Massachusetts Expanded Gaming Act, which is not at issue

here.8 This Court denied the motion to intervene because the Aquinnah effectively conceded they

had no interest in the litigation. 293 F.R.D. at 47–48. In particular, the action challenged the

preference given to tribes with compacts under the Expanded Gaming Act, but the Aquinnah had

no such compact. Id. Instead, its claimed interest was contingent only upon the possibility of

obtaining a compact, and it was uncertain whether that contingent interest would be impaired in

the litigation. Id. The Aquinnah further could not suggest any reason that the Commonwealth

could not adequately represent its interests, and instead argued only that it and the

Commonwealth had a “difference of opinion” regarding certain legal arguments the Aquinnah

would wish to raise. Id. In other words, the Aquinnah’s motion presented the Court with

precisely the opposite of the situation here, where the Tribe has a very real interest that is distinct

from those of the involved government agency.

          B.      The Tribe’s Interests Are Not Adequately Represented by Any Party.

         No party faces the severe risk to its most fundamental interests that the Tribe confronts

here. To the extent that Plaintiffs may somehow contend that the Department adequately

represents the Tribe’s interests, they misapprehend the depth and breadth of interests the Tribe

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          To the extent that the parties may rely upon KG Urban to argue that the Court should deny this Motion
based upon the KG Urban court’s ruling concerning the Tribe’s limited motion to intervene for the limited purposes
of moving to dismiss the case, that reliance is similarly misplaced. KG Urban concerned a dramatically different
factual context, including that the Department at the time of that litigation had not taken land into trust for the Tribe.
Id. The Court’s sole ruling regarding the Tribe in that matter was that, under Rules 12(b)(7) and 19, neither of which
is implicated here, the Tribe was not a “necessary” party justifying a motion to dismiss for failure to join an
indispensable party. Id. at 49–52. The court so concluded because the interests the Tribe then claimed—including an
interest in having the Department “determine whether it is eligible to have lands taken into trust”—were “not in
jeopardy” because they would not be lost based on the outcome of the litigation. Id. The situation here is the
opposite: the Tribe’s interests in this litigation are concrete in the form of the Property, as is the direct harm to those
interests if the Property does not remain in trust based on the ROD.


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has in the Property. The Department’s interest is in the administration of federal lands of the

United States for the public interest broadly and the implementation of federal Indian policy, not

in the particular sovereign, economic, and personal interests of the Tribe and its members.

       As the Supreme Court has made clear, the burden of showing that a putative intervenor is

not adequately represented is “minimal;” the movant must simply show that representation “may

be” inadequate. Trbovich v. United Mine Workers of Am., 404 U.S. 528, 538 n.10 (1972).

Although there is a presumption of adequate representation where the proposed intervenor has

the “same ultimate goal” as an existing party—including where the intervenor “attempts to enter

on the same side as a government agency to defend the agency’s decision”—the burden to rebut

that presumption is “not onerous.” Nextel Commc’ns of Mid–Atlantic, Inc. v. Town of Hanson,

311 F.Supp.2d 142, 151 (D.Mass.2004) (citing United Nuclear Corp. v. Cannon, 696 F.2d 141,

144 (1st Cir.1982)).

       Even when the movant seeks to intervene “on the same side as a government agency,” the

proposed intervenor need only show that the government’s representation “may be inadequate,”

not that it actually is inadequate. Mosbacher, 966 F.2d at 44 (vacating trial court’s denial of

motion to intervene because intervenors may not have been adequately represented by the

Secretary of Commerce); Kleissler v. U.S. Forest Serv., 157 F.3d 964, 972 (3d Cir. 1998)

(“[W]hen an agency’s views are necessarily colored by its view of the public welfare rather than

the more parochial views of a proposed intervenor whose interest is personal to it, the burden [of

the intervenor to show inadequate representation] is comparatively light.”). “One way for the

intervenor to show inadequate representation is to demonstrate that its interests are sufficiently

different in kind or degree from those of the named party.” B. Fernandez & Hnos., Inc. v.

Kellogg USA, Inc., 440 F.3d 541, 546 (1st Cir. 2006) (citing Glancy v. Taubman Cts., Inc., 373



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F.3d 656, 675 (6th Cir.2004)) (“Asymmetry in the intensity ... of interest can prevent a named

party from representing the interests of the absentee.”) (other citation omitted).

        For example, in Dimond v. D.C., the U.S. Court of Appeals for the D.C. Circuit found

that the trial court’s denial of a motion to intervene on the side of the government defending a

statute was an abuse of discretion because the intervenor’s interests differed from those of the

government. 792 F.2d 179, 191–92 (D.C. Cir. 1986). There, citizen plaintiffs had sued the

District of Columbia to challenge the constitutionality of a motor vehicle insurance law. Id. at

181. At summary judgment, the trial court found unconstitutional a provision of the at-issue law

restricting an accident victim’s “right to bring a tort suit to recover noneconomic losses such as

pain and suffering unless the victim incurs $5,000 or more in medical expenses.” Id. Following

the entry of judgment, and an order of the trial court clarifying that its ruling meant that the

$5,000 medical expenses provision was stricken, an automobile insurance company moved to

intervene as a defendant. Id. at 193. The trial court denied that motion. Id. The D.C. Circuit

reversed that denial, explaining that until the District Court “clarified the effect of its ruling . . .

[intervenor] might reasonably have believed that the [government’s] interest in defending the

validity of the [law] would also ensure that [intervenor’s] interests were adequately protected.”

Dimond, 792 F.2d at 193. The D.C. Circuit further explained that the District of Columbia may

not have adequately represented the movant because of the difference in their respective

interests, namely that “the District of Columbia has no financial stake in the outcome of the

challenge to the [law].” Id. at 192. Indeed, “[a] government entity . . . is charged by law with

representing the public interest of its citizens,” not the interests of a private intervenor. Id.;

Wildearth Guardians v. Salazar, 272 F.R.D. 4, 15 (D.D.C. 2010) (“[I]t is well-established that

governmental entities generally cannot represent the more narrow and parochial financial interest



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of a private party”) (internal quotations omitted).

       Similarly, just over a year ago the U.S. District Court for the District of Maine in

McDonough v. City of Portland allowed a motion to intervene on the side of the agency

defending its own action, because the intervenor’s interests “differ[ ] in kind and quality.” No.

2:15-CV-00153-JDL, 2015 WL 3755289, at *3 (D. Me. June 16, 2015). There, the City of

Portland was defending its taxi licensing scheme against allegations of reverse racism, namely

that Portland favored minorities and immigrants. Id. at *2. A group of taxi drivers who had

benefited under Portland’s licensing plan moved to intervene to protect their interests in working

as taxi drivers. Id. Plaintiff relied on the presumption that Portland adequately represented the

intervenor, but the court found that the “[intervenor] has the better argument”:

               It is apparent that its interests are sufficiently different from
               Portland’s and that Portland’s representation may be inadequate
               because Portland must account for a spectrum of governmental
               interests far broader than the discrete commercial interests
               [Intervenor] seeks to protect. Mosbacher requires only that an
               intervenor show that the government’s representation may be
               inadequate, not that it is inadequate. 966 F.2d at 44. [Intervenor]
               has made that showing here.

Id. at *3 (emphasis in original).

       Here, as in Dimond, until the Order the Tribe “might reasonably have believed that the

[government’s] interest . . . would also ensure that [intervenor’s] interests were adequately

protected.” 792 F.2d at 193. Especially in light of the Order, however, the Department may not

adequately represent the Tribe. The Tribe has vital sovereign, proprietary and financial interests

at stake in having their land remain in trust. Like the interests of the intervenors in Dimond and

McDonough, these interests are different from, and far more direct and immediate than, the

United States’ more general interest in defending its agencies’ decisions, and only the Tribe can

adequately represent them. Id; 2015 WL 3755289, at *3. Even if the United States were able to

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adequately protect the Tribe’s interests in this suit, that factor is outweighed by the Supreme

Court’s strong preference for encouraging Indian tribes to “participat[e] in litigation critical to

their welfare.” Arizona v. California, 460 U.S. 605, 615 (1983).9

         C.       The Motion to Intervene Is Timely.

         This motion is timely where the Tribe has brought it within eighteen days after the Order and

as soon as it made the difficult decision to (potentially) waive its sovereign immunity in seeking

intervention. Where the Tribe intervenes solely to engage in post-Order motion practice and for

appellate purposes it does not prejudice the parties in any respect.

         Rule 24’s timeliness requirement is a check on prejudice, not a time-keeping exercise that

bars intervention after a certain number of days or a particular stage of litigation: “the concept of

timeliness of a petition is not measured, like a statute of limitations, in terms of specific units of

time, but rather derives meaning from assessment of prejudice in the context of the particular

litigation.” Puerto Rico Tel. Co. v. Sistema de Retiro de los Empleados del Gobierno y la

Judicatura, 637 F.3d 10, 15–16 (1st Cir. 2011) (vacating and remanding denial of motion to

intervene filed after entry of judgment). Indeed, “the point to which a suit has progressed, while

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          The Department has not yet publicly committed to an appeal of the Order, which is a further, independently
sufficient basis to show that the Department may not adequately represent the Tribe. In Dow Jones & Co. v. U.S.
Dep’t of Justice, for example, current Supreme Court Justice Sotomayor, while a U.S. District Court judge, granted a
motion to intervene where the government had not yet determined whether to appeal a judgment that was
unfavorable to the prospective intervenor, such that her interests may not have been “adequately represented.” 161
F.R.D. 247, 254 (S.D.N.Y. 1995). There, under the Freedom of Information Act plaintiffs sought to compel the
Department of Justice (“DOJ”) to produce a note written by a government official prior to that official’s suicide. Id.
at 249. Justice Sotomayor entered summary judgment for plaintiffs and enjoined the government from withholding
the note, and the official’s widow moved to intervene for the purpose of bringing an appeal. Id. at 250. The widow
argued that previously during the case “she believed the government would adequately represent her interest in this
matter, and that only with the adverse Order did she realize that the government might not fully exercise its right to
appeal.” Id. at 252–53. Justice Sotomayor agreed, further explaining that the interests of DOJ diverged from those of
the putative intervenor where any appeal by DOJ would subject it to a cross-appeal on another issue in the case on
which it had prevailed. Id. at 253–54.
          To the extent that the Department ultimately decides not to appeal, it is even clearer that the Tribe’s
interests would not be adequately represented. See Americans United for Separation of Church & State v. City of
Grand Rapids, 922 F.2d 303, 306 (6th Cir. 1990) (allowing motion to intervene where putative intervenor may not
have been adequately represented because party ostensibly representing its interests chose not to appeal); Pellegrino
v. Nesbit, 203 F.2d 463, 468 (9th Cir. 1953) (reversing denial of motion to intervene post-judgment where putative
intervenor would not be adequately represented where party claiming to represent it chose not to appeal).

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relevant, is not the dispositive factor in determining timeliness.” Fiandaca v. Cunningham, 827

F.2d 825, 833 (1st Cir. 1987) (holding that trial court abused its discretion in denying motion to

intervene after conclusion of trial).

       As the First Circuit has explained, “[t]he timeliness requirement was not designed to

penalize prospective intervenors for failing to act promptly [, but] rather [to] insure[ ] that

existing parties to the litigation are not prejudiced by the failure of would-be intervenors to act in

a timely fashion.” Id., at 834 (quoting Garrity v. Gallen, 697 F.2d 452, 455 (1st Cir.1983)); see

Banco Popular de Puerto Rico v. Greenblatt, 964 F.2d 1227, 1232 (1st Cir.1992) (“[T]he

purpose of the basic requirement that the application to intervene be timely is to prevent last

minute disruption of painstaking work by the parties and the court.”) (quoting Culbreath v.

Dukakis, 630 F.2d 15, 22 (1st Cir.1980)); Caterino v. Barry, 922 F.2d 37, 41 (1st Cir.1990)

(noting that “avoiding such prejudice [to existing parties]” is the basic purpose of the timeliness

requirement, and that in that case permitting intervention “inevitably would delay the start of the

trial—unquestionably a detriment to the plaintiffs”). The determination of timeliness lies within

the sound discretion of the district court. NAACP v. New York, 413 U.S. 345, 366 (1973).

Further, the timeliness requirement is “less strict than for a Rule 24(b) motion because greater

interests are at stake in the former case.” Fiandaca, 827 F.2d at 833.

       As a result, successful post-trial or post-judgment motions to intervene are not unusual.

United Airlines, Inc. v. McDonald, 432 U.S. 385, 395–96 (1977) (holding that post-judgment

motion to intervene should have been allowed so that intervenor could appeal); Negron-Almeda

v. Santiago, 528 F.3d 15, 25 (1st Cir. 2008) (reversing trial court’s denial of motion to intervene

filed one month after the entry of judgment, because that delay was “slight” and the motion to

intervene timely where intervener recognized its rights were imperiled upon entry of judgment);



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Puerto Rico Tel. Co. v. Sistema de Retiro de los Empleados del Gobierno y la Judicatura, 637

F.3d 10, 15–16 (1st Cir. 2011) (remanding for reconsideration trial court’s denial of motion to

intervene in order to appeal brought after entry of judgment); Pub. Citizen v. Liggett Grp., Inc.,

858 F.2d 775, 785 (1st Cir. 1988) (noting that “postjudgment intervention is not altogether

rare”). Indeed, where a putative intervenor seeks to participate in appellate proceedings, there is

no prejudice to the existing parties, because the prospective intervenor does not seek to add

anything to the factual record. Dimond, 792 F.2d at 193 (“[S]ince [intervenor] seeks to intervene

only to participate at the appellate stage and in any further trial proceedings, its intervention will

not prejudice any existing party.”).

        To determine whether a post-verdict or judgment motion to intervene for appellate

purposes is timely, the “critical inquiry” is “whether in view of all the circumstances the

intervenor acted promptly after the entry of final judgment.” United Airlines, Inc., 432 U.S. at

395–96. Thus, in Dimond, discussed supra Part I.B., the court concluded that the trial court’s

denial of an insurance company’s motion to intervene for appellate purposes brought shortly

after the entry of judgment was an abuse of discretion. 792 F.2d at 191–92. Contrary to the trial

court’s ruling, the motion was timely, because the movant “moved to intervene only two days

after the District Court clarified the effect of its ruling . . . . Until that time, [intervenor] might

reasonably have believed that the [government’s] interest in defending the validity of the [law]

would also ensure that [intervenor’s] interests were adequately protected.” Id; see Dow Jones &

Co. v. U.S. Dep’t of Justice, 161 F.R.D. 247, 252–53 (S.D.N.Y. 1995) (Sotomayor, J.) (granting

motion to intervene where putative intervenor “believed the government would adequately

represent her interest in this matter, and that only with the adverse Order did she realize that the

government might not fully exercise its right to appeal”).



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         Here, similar to Dimond, the Tribe has promptly moved to intervene to appeal this

Court’s judgment. Under the well-established line of cases described above, the motion is

therefore timely.10 Fundamentally, there is no prejudice to the parties, which is the purpose of the

timeliness requirement, because the Tribe does not seek to add to the factual record. Puerto Rico

Tel. Co., 637 F.3d at 15–16.

         To the extent Plaintiffs contend that this motion is nevertheless untimely simply because

the Tribe could have but did not bring it sooner, there is a sound reason that the Tribe implicitly

relied upon the Department to represent its interests until the entry of the Order: it was

determined not to waive its sovereign immunity unless absolutely necessary. Indian tribes are

“separate sovereigns pre-existing the Constitution” which hold immunity from suit. Santa Clara

Pueblo v. Martinez, 436 U.S. 49, 56 (1978). This immunity is “a necessary corollary to Indian

sovereignty and self-governance.” Three Affiliated Tribes of Fort Berthold Reservation v. Wold

Engineering, P.C., 476 U.S. 877, 890 (1986); see also Kiowa Tribe of Okla. v. Mfg. Techs., Inc.,

523 U.S. 751, 754, 756 (1998); Nev. v. Hall, 440 U.S. 410, 414-15 (1979); Bay Mills Indian

Cmty., 134 S. Ct. at 2030–31 (holding that Indian tribe was immune from suit by Michigan to

enjoin it from operating casino outside its reservation). As a recognized tribe, the Tribe enjoys

this same immunity, Bingham v. Maushop, LLC, No. BACV2006-00736 (Mass. Super. Ct. June 26,

2007), and a decision to waive this immunity is a serious, weighty decision.

         Until the Order the Tribe “might reasonably have believed that the [government’s]


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          Additionally, this motion is timely where the Department has not stated publicly whether it intends to
appeal the Order. See Dow Jones, 161 F.R.D. at 252–53 (post-judgment motion to intervene timely where putative
intervenor did not know whether DOJ would appeal). If the Department ultimately determines not to appeal the
Order, it will be even clearer that this motion is timely. United Airlines, Inc. v. McDonald, 432 U.S. 385, 389–90, 97
(1977) (post-judgment motions to intervene timely when “filed promptly after the final judgment of a District Court,
for the purpose of appealing” and upon learning that party who ostensibly represented the putative intervenor did not
intend to appeal). Not only does the potential that the Department will not appeal create an independently sufficient
basis to show that it may not adequately represent the Tribe, it also illuminates the difference in degree and kind
between the Tribe’s interest and the Department’s interest.

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interest . . . would also ensure that [intervenor’s] interests were adequately protected.” Dimond,

792 F.2d at 191–92; see Dow Jones & Co., 161 F.R.D. at 252–53. The Tribe at all times

considered whether waiving its sovereign immunity in order to intervene was warranted. The

Tribe determined that waiving its sovereign immunity was not in its interests, especially where it

believed that the Department would fully represent its interests. The Order, however, made the

path forward for the Tribe clear, to intervene in order to ensure it could protect its interests on

appeal.

II.       The Tribe Should Be Allowed Permissive Intervention.

          If this Court determines that intervention of right is not appropriate, the Tribe seeks

permissive intervention under Rule 24(b). Under 24(b), on timely motion, “the court may permit

anyone to intervene who . . . has a claim or defense that shares with the main action a common

question of law or fact. . . . In exercising its discretion, the court must consider whether the

intervention will unduly delay or prejudice the adjudication of the original parties’ rights.” Fed.

R. Civ. P. 24(b). Unlike the four part test for intervention as of right, permissive intervention

requires neither the possibility that the putative intervenor may not be adequately represented nor

that the putative intervenor's interests may be harmed. Daggett, 172 F.3d at 112–13; see In re

Acushnet River & New Bedford Harbor Proceedings re Alleged PCB Pollution, 712 F. Supp.

1019, 1024 n.7 (D. Mass. 1989) (stating, with respect to issue of adequate representation, that

standards under Rule24(b) are “loosened” in comparison to standards under Rule24(a)).

Permissive intervention is “wholly discretionary,” and when exercising its discretion, the court

may consider “almost any factor rationally relevant . . . .” Daggett, 172 F.3d at 113. Here, the

Court’s discretion should heavily favor the Tribe, because the Tribe’s intervention will not cause

undue delay or prejudice in this case. Indeed, tribes are routinely permitted to intervene to defend



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the Secretary’s decisions to accept land in trust on their behalf. See, e.g., Confederated Tribes of

Grand Ronde Cmty. of Oregon v. Jewell, No. 14-5326 (D.C. Cir. Jul. 29, 2016), slip opinion at

*3 (noting that the district court allowed the tribe to intervene); Michigan Gambling Opposition

v. Kempthorne, 525 F.3d 23, 28 (D.C. Cir. 2008) (“The Tribe was allowed to intervene [in the

underlying proceeding] as a defendant.”); City of Roseville v. Norton, 219 F. Supp. 2d 130, 137

(D.D.C. 2002) (noting that tribe was permitted to intervene); but see S. Dakota ex rel Barnett v.

U.S. Dep’t of Interior, 317 F.3d 783, 785–86 (8th Cir 2003) (remarking that “the [prospective

intervenor] Tribe has cited authority that probably would have persuaded us to grant the motion

if we were the district court ruling on the motion intervene],” but finding the trial court’s denial

of the motion was not an abuse of discretion). Because the Tribe’s intervention will cause no

delay or prejudice to the present parties—see, supra, Part I.C., incorporated herein by

reference—the Tribe has a vital interest in the subject matter of this litigation, and for the reasons

described above, the Court should exercise its discretion to permit permissive intervention.

                                           iv. Conclusion

       For all of the reasons set forth above, the Tribe respectfully requests that the Court enter

an order that the Tribe may intervene in the above-captioned proceeding.

                                       Respectfully submitted,
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   Dated: August 15, 2016


                                      Certificate of Service

        I, Benjamin J. Wish, hereby certify that this document has been filed through the ECF
system and will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants on August 15, 2016.

                                                      /s/ Benjamin J. Wish
                                                     Benjamin J. Wish




       4838-6904-6069, v. 13




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